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                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

 Midas Green Technologies, LLC,

          Plaintiff,                              Civil Action No. 6:22-cv-00050-ADA

                  - vs. -                         Jury Trial Demanded

 Rhodium Enterprises, Inc.;
 Rhodium Technologies LLC;
 Rhodium 10mw LLC;
 Rhodium 2.0 LLC;
 Rhodium 30mw LLC;
 Rhodium Encore LLC;
 Rhodium Industries LLC;
 Rhodium JV LLC;
 Rhodium Renewables LLC;
 Rhodium Shared Services LLC;
 Rhodium Shared Services PR Inc.;
 Chase Blackmon;
 Cameron Blackmon;
 Nathan Nichols, and
 Rhodium 2.0 Sub LLC;
 Rhodium Encore Sub LLC;
 Rhodium Renewables Sub LLC;
 Rhodium Ready Ventures LLC;
 Rhodium 10MW Sub LLC;
 Rhodium 30MW Sub LLC;
 i Ventures Enterprises LLC (fka Energy
 Tech LLC);
 Air HPC LLC;
 Jordan HPC LLC; and
 Jordan HPC Sub LLC,

          Defendants


    PLAINTIFF’S SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 4

         Pursuant to Federal Rules of Civil Procedure 26, 33, and 34, Plaintiff Midas Green

Technologies, LLC (“Midas”) hereby provides its supplemental responses and objections to

Interrogatory No. 2 from Defendants’ First Set of Interrogatories to Plaintiff. The following


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responses are made only for the purposes of this action based on Midas’ present knowledge. Midas

expressly reserves the right to amend or further supplement its responses.

         Midas incorporates by reference its general objections set forth in Plaintiff’s Responses

and Objections to Defendants’ First Set of Interrogatories to Plaintiff.

                         SPECIFIC RESPONSES AND OBJECTIONS

INTERROGATORY No. 4:

        If you contend that any Midas product practices any Asserted Claim of the Patents-in-Suit,
describe such contention in detail, for each product, on a claim-by-claim and element-by-element
basis, and the sales amounts on a quarterly basis for each such product.

RESPONSE TO INTERROGATORY No. 4: (August 31, 2022):

         Midas objects to this Interrogatory as compound in that it seeks information responsive to

two separate and discrete topics, namely, (1) details concerning Midas’ contention that its

immersion cooling products “practice[] any Asserted Claim of the Patents-in-Suit”; and (2) “the

sales amounts on a quarterly basis for each such product.” Midas will treat this Interrogatory as

two interrogatories for the purposes of the Court’s limitations on the number of interrogatories.

         Midas objects to the first portion of this Interrogatory as overly broad and unduly

burdensome, and disproportionate to the needs of this case, because it seeks to compel Midas to

generate separate claim charts for “any” of the relevant Midas products. Subject to the foregoing,

Midas directs Defendants to exemplary claim charts produced at MIDAS0042282 -

MIDAS0042326; MIDAS0042237- MIDAS0042281; and MGT0049849 - MGT0049853.

         As to the second portion of this Interrogatory, Midas will shortly provide business records

from which may be derived the sales amounts for each of the above-identified Midas products.




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SUPPLEMENTAL RESPONSE TO INTERROGATORY No. 4: (December 2, 2022):

         Midas incorporates by reference its previous objections and responses.

         Pursuant to the Court’s Discovery Order (Dkt. 68), Midas herewith provides the following

claim charts for its commercial products:

              •   Claim Charts for Midas Crypto Systems – Exhibit A

              •   Claim Charts for Midas 50U Tank Systems – Exhibit B

              •   Claim Charts for Midas 12U Tank Systems – Exhibit C

         Midas’ reserves it right to supplement.




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Dated: December 2, 2022             Respectfully submitted,

                                    /s/ Henry Pogorzelski
                                    Henry M. Pogorzelski
                                    Texas Bar No. 24007852
                                    K&L Gates LLP
                                    2801 Via Fortuna, Suite 650
                                    Austin, Texas 78746
                                    Telephone: (512) 482-6800
                                    Fax: (512) 482-6859
                                    henry.pogorzelski@klgates.com

                                    Nicholas F. Lenning (admitted p.h.v.)
                                    Ruby A. Nagamine (admitted p.h.v.)
                                    K&L GATES LLP
                                    925 Fourth Avenue, Suite 2900
                                    Seattle, Washington 98104
                                    Telephone: (206) 370-6685
                                    Fax: (206) 370-6006
                                    nicholas.lenning@klgates.com
                                    ruby.nagamine@klgates.com

                                    James A. Shimota (admitted p.h.v.)
                                    Gina A. Johnson (admitted p.h.v.)
                                    Benjamin E. Weed (admitted p.h.v.)
                                    K&L GATES LLP
                                    70 WEST Madison Street, Suite 3300
                                    Chicago, Illinois 60602
                                    Telephone: (312) 372-1121
                                    Fax: (312) 827-8000
                                    jim.shimota@klgates.com
                                    gina.johnson@klgates.com
                                    benjamin.weed@klgates.com

                                    Counsel for Plaintiff
                                    Midas Green Technologies, LLC




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                                  CERTIFICATE OF SERVICE

         I hereby certify that counsel of record who have appeared electronically in this case are

being served on December 2, 2022 with a copy of this document via the email address that counsel

of record supplied to the Court’s ECF system.


                                              /s/ Henry Pogorzelski
                                              Henry Pogorzelski




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                           Exhibit A
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                   ‘457 and ‘446 Claim Charts for Midas Crypto Systems


   These claim charts are intended to provide notice to defendants of Midas’ contention that the Midas Crypto
Systems (e.g., its SC3TV4-152 tank systems, optionally including at least one “water pump skid” such as Midas’
W1P0S50 or similar system referenced in Midas’s response to Interrogatory No. 3, and including at least one
cooling tower such as the 18-fan adiabatic towers manufactured by Guenter and Kelvion, or similar system
referenced in Midas’ response to Interrogatory No. 3, and including installation services provided by Midas
personnel, as well as its SC2TV4-152 tank systems, again optionally including the foregoing “water pump
skid(s)” and cooling tower(s) and installation services) practice the asserted claims, i.e., ‘457 Patent, Claims 1, 2,
5, 6, 7, 10, 11, 14, 15, and 16; and ‘446 Patent, Claims 1, 2, 5, 6, 7, and 10. Please note that the SC3TV4-152
tank systems are sometimes referred to as “Midas Simple Crypto 3 Slot System,” and the SC2TV4-152 tank
systems are sometimes referred to as “Midas Simple Crypto 2 Slot System.”


Each claim element or limitation of the asserted claims is literally present in the Midas Crypto Systems. Any
claim element or limitation that is not literally present in the Midas Crypto Systems (if any), is present under a
doctrine of equivalents.




                                                                                                                         1
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                         ‘457 Claim 1 Chart of Midas Crypto Systems


Claim Limitation                                              Where Found

To the extent that the preamble may be limiting:              The Midas Crypto Systems is an appliance immersion
                                                              cooling system. “Appliance” includes “contemporary
An appliance immersion cooling system                         computer servers”, ‘457 Patent, col. 3, lines 45-46, e.g.
                                                              Cryptocurrency Miners




                                                                                            (1.)
                               (1.) MIDAS0046255.




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                                      ‘457 Claim 1 Chart of Midas Crypto Systems


          Claim Limitation                                                 Where Found
          a tank adapted to immerse in a dielectric fluid a plurality of   The Midas Crypto Systems include a tank. Each tank is
          electrical appliances,                                           adapted to immerse in a dielectric fluid, a plurality of
                                                                           electrical appliances, i.e., crypto miners.


                                                                                                                      Tank




Appliances
are placed in
appliance
slots




                                                                                                                                      3
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                                   ‘457 Claim 1 Chart of Midas Crypto Systems


        Claim Limitation                                               Where Found
        each in a respective appliance slot distributed vertically     The Midas Crypto Systems include appliance slots, e.g.,
        along, and extending transverse to, a long wall of the tank,   each slot receiving a respective appliance, i.e., crypto
                                                                       miners, each of those slots being distributed vertically
                                                                       along, e.g., the appliance slot is distributed vertically down
                                                                       into the tank, and extending traverse to the long wall of the
                                                                       tank.
                                                                                                                          Top of
                                                                                                                         appliance
                                                                                                                           slots




                                                                                                                                     (1.)

                                                                                (1.) MIDAS0046259.




 Top of
appliance
  slots                                                                                                                                 4
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                            ‘457 Claim 1 Chart of Midas Crypto Systems


Claim Limitation                                                 Where Found
the tank comprising:                                             The Midas Crypto Systems include a tank that includes a
                                                                 weir, integrated horizontally into the long wall of the tank
a weir, integrated horizontally into the long wall of the tank   adjacent all appliance slots, e.g., the weir having an
adjacent all appliance slots, having an overflow lip adapted     overflow lip adapted to facilitate substantially uniform
to facilitate substantially uniform recovery of the dielectric   recovery of the dielectric fluid flowing through each
fluid flowing through each appliance slot; and                   appliance slot, e.g., the dielectric fluid in the tank flows
                                                                 over the lip of the weir extending along the long wall of the
                                                                 tank, thus facilitating substantially uniform recovery of the
                                                                 fluid flowing through each appliance slot in the tank.




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                           ‘457 Claim 1 Chart of Midas Crypto Systems


Claim Limitation                                                  Where Found
a dielectric fluid recovery reservoir positioned vertically       The Midas Crypto Systems include a tank that includes a
beneath the overflow lip of the weir and adapted to receive       dielectric fluid recovery reservoir positioned vertically
the dielectric fluid as it flows over the weir                    beneath the overflow lip of the weir and adapted to receive
                                                                  the dielectric fluid as it flows over the weir.




                                                              Reservoir is
                                                                region
                                                               below red
                                                                 lines



                                                                                                                                    (1.)

                                                                                 (1.) MIDAS0046259.




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                                   ‘457 Claim 1 Chart of Midas Crypto Systems


              Claim Limitation                                            Where Found
         a primary circulation facility adapted to circulate the          The Midas Crypto Systems include a primary circulation
         dielectric fluid through the tank                                facility adapted to circulate the dielectric fluid through the
                                                                          tank, e.g., the pump and associated piping sends the hot
                                                                          dielectric fluid through the heat exchanger; cooled dielectric
                                                                          fluid returns to the tank, entering the plenum positioned
                                                                          adjacent the bottom of the tank; and the dielectric fluid
                                                                          moves up through the tank to the previously illustrated weir,
                                                                          then into the recovery reservoir, out to the collection tank,
                                                                          and back to the pump.




                       (3.)



   Pump
portion of                                                (2.)
 primary
circulation                                                                                                                                (1.)
  facility                                                         (1.) MIDAS0046261.
                                                                   (2.) MIDAS0046265.
                                                                   (3.) MIDAS0046259.
                                                                                                                                      7
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                           ‘457 Claim 1 Chart of Midas Crypto Systems


Claim Limitation                                             Where Found
comprising:                                                  The Midas Crypto Systems include a primary circulation
a plenum, positioned adjacent the bottom of the tank,        facility that includes a plenum, positioned adjacent the
adapted to dispense the dielectric fluid substantially       bottom of the tank, adapted to dispense the dielectric fluid
uniformly upwardly through each appliance slot;              substantially uniformly upwardly through each appliance
                                                             slot.




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                         ‘457 Claim 1 Chart of Midas Crypto Systems

                                                                 Where Found
Claim Limitation
                                                                 The Midas Crypto Systems include a secondary fluid
a secondary fluid circulation facility adapted to extract heat   circulation facility adapted to extract heat from the
from the dielectric fluid circulating in the primary             dielectric fluid circulating in the primary circulation facility,
circulation facility, and to dissipate to the environment the    and to dissipate to the environment the heat so extracted,
heat so extracted; and                                           e.g., water pump skid and cooling tower and associated
                                                                 pumps, heat exchangers, etc., that remove heat from the hot
                                                                 dielectric fluid and dissipate heat to the environment.




                                                                                                                         (1.)
        (1.) MIDAS0046261.

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                          ‘457 Claim 1 Chart of Midas Crypto Systems


Claim Limitation                                                Where Found
a control facility adapted to coordinate the operation of the   The Midas Crypto Systems include a control facility
primary and secondary fluid circulation facilities as a         adapted to coordinate the operation of the primary and
function of the temperature of the dielectric fluid in the      secondary fluid circulation facilities as a function of the
tank.                                                           temperature of the dielectric fluid in the tank, e.g., the
                                                                control box on the oil skid portion of the SC3TV4-152 or
                                                                SC2TV4-152 tank systems, the control box on the water
                                                                skid(s), the control system(s) in the cooling tower, and
                                                                including the various sensors and switches therein, and in
                                                                certain installations one or more centralized computer
                                                                systems specified or provided by a customer.




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                  ‘457 Dependent Claim 2 Chart of Midas Crypto Systems


Claim Limitation                                             Where Found
The system of claim 1 wherein the tank and primary           The Midas Crypto Systems include a tank and primary
circulation facility comprise a highly-integrated module.    circulation facility which comprise a highly-integrated
                                                             module, i.e., the tank, plenum, and circulation pump are
                                                             tightly co-located.




                                                                                                                        11
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                         ‘457 Claim 5 Chart of Midas Crypto Systems

Claim Limitation                                               Where Found
The system of claim 1 wherein the control facility further     The Midas Crypto Systems include a control facility that
comprises a communication facility adapted to facilitate       further includes a communication facility adapted to
monitoring and control of the control facility from a remote   facilitate monitoring and control of the control facility from
location.                                                      a remote location, e.g., the various sensors located on the oil
                                                               skid portion of the SC3TV4-152 or SC2TV4-152 tank
                                                               systems, the sensors on the water skid(s), the sensors
                                                               associated with the cooling tower(s), including hardware
                                                               and/or transmission/interface wiring or other means of
                                                               communication for the sensors and various controllers, and
                                                               optionally including one or more centralized computer
                                                               systems specified or provided by a customer.




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                          ‘457 Claim 6 Chart of Midas Crypto Systems


Claim Limitation                                              Where Found
To the extent that the preamble may be limiting:              The Midas Crypto Systems is a tank module adapted for use
                                                              in an appliance immersion cooling system. “Appliance”
A tank module adapted for use in an appliance immersion       includes “contemporary computer servers”, ‘457 Patent,
cooling system, the tank module comprising                    col. 3, lines 45-46, e.g. Cryptocurrency Miners




                                                                                          (1.)
                                (1.) MIDAS0046255.




                                                                                                                    13
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                            ‘457 Claim 6 Chart of Midas Crypto Systems


Claim Limitation                                                 Where Found
a tank adapted to immerse in a dielectric fluid a plurality of   The Midas Crypto Systems include a tank. Each tank is
electrical appliances,                                           adapted to immerse in a dielectric fluid, a plurality of
                                                                 electrical appliances, i.e., crypto miners.




                                                                                                                            14
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                           ‘457 Claim 6 Chart of Midas Crypto Systems


Claim Limitation                                               Where Found
each in a respective appliance slot distributed vertically     The Midas Crypto Systems include appliance slots, e.g.,
along, and extending transverse to, a long wall of the tank,   each slot receiving a respective appliance, i.e., crypto
                                                               miners, each of those slots being distributed vertically
                                                               along, e.g., the appliance slot is distributed vertically down
                                                               into the tank, and extending traverse to the long wall of the
                                                               tank.




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                          ‘457 Claim 6 Chart of Midas Crypto Systems


Claim Limitation                                                 Where Found
the tank comprising:                                             The Midas Crypto Systems include a tank that includes a
                                                                 weir, integrated horizontally into the long wall of the tank
a weir, integrated horizontally into the long wall of the tank   adjacent all appliance slots, e.g., the weir having an
adjacent all appliance slots, having an overflow lip adapted     overflow lip adapted to facilitate substantially uniform
to facilitate substantially uniform recovery of the dielectric   recovery of the dielectric fluid flowing through each
fluid flowing through each appliance slot; and                   appliance slot, e.g., the dielectric fluid in the tank flows
                                                                 over the lip of the weir extending along the long wall of the
                                                                 tank, thus facilitating substantially uniform recovery of the
                                                                 fluid flowing through each appliance slot in the tank.




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                           ‘457 Claim 6 Chart of Midas Crypto Systems


Claim Limitation                                              Where Found
a dielectric fluid recovery reservoir positioned vertically   The Midas Crypto Systems include a tank that includes a
beneath the overflow lip of the weir and adapted to receive   dielectric fluid recovery reservoir positioned vertically
the dielectric fluid as it flows over the weir;               beneath the overflow lip of the weir and adapted to receive
                                                              the dielectric fluid as it flows over the weir.




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                          ‘457 Claim 6 Chart of Midas Crypto Systems


 Claim Limitation                                              Where Found
a primary circulation facility adapted to circulate the        The Midas Crypto Systems include a primary circulation
dielectric fluid through the tank                              facility adapted to circulate the dielectric fluid through the
                                                               tank, e.g., the pump and associated piping sends the hot
                                                               dielectric fluid through the heat exchanger; cooled dielectric
                                                               fluid returns to the tank, entering the plenum positioned
                                                               adjacent the bottom of the tank; and the dielectric fluid
                                                               moves up through the tank to the previously illustrated weir,
                                                               then into the recovery reservoir, out to the collection tank,
                                                               and back to the pump.




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                           ‘457 Claim 6 Chart of Midas Crypto Systems


Claim Limitation                                             Where Found
comprising:                                                  The Midas Crypto Systems include a primary circulation
a plenum, positioned adjacent the bottom of the tank,        facility that includes a plenum, positioned adjacent the
adapted to dispense the dielectric fluid substantially       bottom of the tank, adapted to dispense the dielectric fluid
uniformly upwardly through each appliance slot;              substantially uniformly upwardly through each appliance
                                                             slot.




                                                                                                                        19
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                         ‘457 Claim 6 Chart of Midas Crypto Systems


Claim Limitation                                              Where Found

a control facility adapted to coordinate the operation of     The Midas Crypto Systems include a control facility
the primary fluid circulation facility as a function of the   adapted to coordinate the operation of the primary (and
temperature of the dielectric fluid in the tank.              secondary fluid circulation facilities) as a function of the
                                                              temperature of the dielectric fluid in the tank, e.g., the
                                                              control box on the oil skid portion of the SC3TV4-152 or
                                                              SC2TV4-152 tank systems, the control box on the water
                                                              skid(s), the control system(s) in the cooling tower, and
                                                              including the various sensors and switches therein, and in
                                                              certain installations one or more centralized computer
                                                              systems specified or provided by a customer.




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                  ‘457 Dependent Claim 7 Chart of Midas Crypto Systems


Claim Limitation                                             Where Found
The module of claim 6 wherein the tank and primary           The module wherein the tank and primary circulation
circulation facility comprise a highly-integrated module.    facility comprise a highly-integrated module, i.e., the tank,
                                                             plenum, and circulation pump are tightly co-located.




                                                                                                                         21
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                         ‘457 Claim 10 Chart of Midas Crypto Systems

Claim Limitation                                               Where Found
The module of claim 6 wherein the control facility further     The Midas Crypto Systems include a control facility that
comprises a communication facility adapted to facilitate       further includes a communication facility adapted to
monitoring and control of the control facility from a remote   facilitate monitoring and control of the control facility from
location.                                                      a remote location, e.g., the various sensors located on the oil
                                                               skid portion of the SC3TV4-152 or SC2TV4-152 tank
                                                               systems, the sensors on the water skid(s), the sensors
                                                               associated with the cooling tower(s), including hardware
                                                               and/or transmission/interface wiring or other means of
                                                               communication for the sensors and various controllers, and
                                                               optionally including one or more centralized computer
                                                               systems specified or provided by a customer.




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                        ‘457 Claim 11 Chart of Midas Crypto Systems


Claim Limitation                                              Where Found
To the extent that the preamble may be limiting:              The Midas Crypto Systems is a tank module adapted for use
                                                              in an appliance immersion cooling system. “Appliance”
A tank module adapted for use in an appliance immersion       includes “contemporary computer servers”, ‘457 Patent,
cooling system, the tank module comprising:                   col. 3, lines 45-46, e.g. Cryptocurrency Miners




                                                                                         (1.)
                               (1.) MIDAS0046255.




                                                                                                                    23
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                                   ‘457 Claim 11 Chart of Midas Crypto Systems

        Claim Limitation                                                 Where Found
        a tank adapted to immerse in a dielectric fluid a plurality of   The Midas Crypto Systems include a tank. Each tank is
        electrical appliances,                                           adapted to immerse in a dielectric fluid, a plurality of
                                                                         electrical appliances, i.e., crypto miners.



                                                                                                                    Tank




Appliances
are placed
     in
appliance
   slots




                                                                                                                                    24
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                          ‘457 Claim 11 Chart of Midas Crypto Systems


Claim Limitation                                               Where Found

each in a respective appliance slot distributed vertically     The Midas Crypto Systems include appliance slots, e.g.,
along, and extending transverse to, a long wall of the tank,   each slot receiving a respective appliance, i.e., crypto
                                                               miners, each of those slots being distributed vertically
                                                               along, e.g., the appliance slot is distributed vertically down
                                                               into the tank, and extending traverse to the long wall of the
                                                               tank.




                                                                                                                           25
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                           ‘457 Claim 11 Chart of Midas Crypto Systems

Claim Limitation                                                 Where Found
the tank comprising:                                             The MGT Commercial Embodiment includes a tank that
                                                                 includes a weir, integrated horizontally into the long wall of
a weir, integrated horizontally into the long wall of the tank   the tank adjacent all appliance slots, e.g., the weir adapted
adjacent all appliance slots, adapted to facilitate              to facilitate substantially uniform recovery of the dielectric
substantially uniform recovery of the dielectric fluid           fluid flowing through each appliance slot, e.g., the dielectric
flowing through each appliance slot;                             fluid in the tank flows over the weir extending along the
                                                                 long wall of the tank, thus facilitating substantially uniform
                                                                 recovery of the fluid flowing through each appliance slot in
                                                                 the tank.


                                                                                                                  Weir




                                                                                                                                   (1.)
                                                                        (1.) MIDAS0046259.




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                           ‘446 Claim 11 Chart of Midas Crypto Systems


 Claim Limitation                                              Where Found
a primary circulation facility adapted to circulate the        The Midas Crypto Systems include a primary circulation
dielectric fluid through the tank,                             facility adapted to circulate the dielectric fluid through the
                                                               tank, e.g., the pump and associated piping sends the hot
                                                               dielectric fluid through the heat exchanger; cooled dielectric
                                                               fluid returns to the tank, entering the plenum positioned
                                                               adjacent the bottom of the tank; and the dielectric fluid
                                                               moves up through the tank to the previously illustrated weir,
                                                               then into the recovery reservoir, out to the collection tank,
                                                               and back to the pump.




                                                                                                                          27
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                          ‘457 Claim 11 Chart of Midas Crypto Systems


Claim Limitation                                             Where Found
comprising:                                                  The Midas Crypto Systems include a primary circulation
a plenum, positioned adjacent the bottom of the tank,        facility that includes a plenum, positioned adjacent the
adapted to dispense the dielectric fluid substantially       bottom of the tank, adapted to dispense the dielectric fluid
uniformly upwardly through each appliance slot; and          substantially uniformly upwardly through each appliance
                                                             slot.




                                                                                                                        28
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                           ‘457 Claim 11 Chart of Midas Crypto Systems


Claim Limitation                                               Where Found
a control facility adapted to control the operation of the     The Midas Crypto Systems include a control facility
primary fluid circulation facility as a function of the        adapted to coordinate the operation of the primary (and
temperature of the dielectric fluid in the tank.               secondary fluid circulation facilities) as a function of the
                                                               temperature of the dielectric fluid in the tank, e.g., the
                                                               control box on the oil skid portion of the SC3TV4-152 or
                                                               SC2TV4-152 tank systems, the control box on the water
                                                               skid(s), the control system(s) in the cooling tower, and
                                                               including the various sensors and switches therein, and in
                                                               certain installations one or more centralized computer
                                                               systems specified or provided by a customer.




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                          ‘457 Claim 14 Chart of Midas Crypto Systems


Claim Limitation                                               Where Found
The module of claim 11 wherein the control facility further    The Midas Crypto Systems include a control facility that
comprises a communication facility adapted to facilitate       further includes a communication facility adapted to
monitoring and control of the control facility from a remote   facilitate monitoring and control of the control facility from
location.                                                      a remote location, e.g., the various sensors located on the oil
                                                               skid portion of the SC3TV4-152 or SC2TV4-152 tank
                                                               systems, the sensors on the water skid(s), the sensors
                                                               associated with the cooling tower(s), including hardware
                                                               and/or transmission/interface wiring or other means of
                                                               communication for the sensors and various controllers, and
                                                               optionally including one or more centralized computer
                                                               systems specified or provided by a customer.




                                                                                                                           30
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                        ‘457 Claim 15 Chart of Midas Crypto Systems


Claim Limitation                                                     Where Found
An appliance immersion cooling system comprising a tank              The Midas Crypto Systems includes an appliance
module according to any one of the preceding claims 11               immersion cooling system comprising a tank module
through 14.                                                          according to any one of the preceding claims 11 through 14.




                                                                                                        (1.)
                              (1.) MIDAS0046255.
                              See charted claims 11–14 in reference to a tank module according to any one of the preceding claims 11 through 14.




                                                                                                                                         31
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                           ‘457 Claim 16 Chart of Midas Crypto Systems


Claim Limitation                                                 Where Found
An appliance immersion cooling system according to claim         The Midas Crypto Systems include a secondary fluid
15, further comprising:                                          circulation facility adapted to extract heat from the
                                                                 dielectric fluid circulating in the primary circulation facility,
a secondary fluid circulation facility adapted to extract heat   and to dissipate to the environment the heat so extracted,
from the dielectric fluid circulating in the primary             e.g., water pump skid and cooling tower and associated
circulation facility, and to dissipate to the environment the    pumps, heat exchangers, etc., that remove heat from the hot
heat so extracted.                                               dielectric fluid and dissipate heat to the environment.




                                                                                                                               32
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                        ‘446 Claim 1 Chart of Midas Crypto Systems


Claim Limitation                                              Where Found

To the extent that the preamble may be limiting:              The Midas Crypto Systems is an appliance immersion
                                                              cooling system. “Appliance” includes “contemporary
An appliance immersion cooling system comprising:             computer servers”, ‘446 Patent, col. 3, lines 47-48, e.g.
                                                              Cryptocurrency Miners




                                                                                            (1.)

                               (1.) MIDAS0046255.




                                                                                                                          33
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                                      ‘446 Claim 1 Chart of Midas Crypto Systems


          Claim Limitation                                                 Where Found
          a tank adapted to immerse in a dielectric fluid a plurality of   The Midas Crypto Systems include a tank. Each tank is
          electrical appliances,                                           adapted to immerse in a dielectric fluid, a plurality of
                                                                           electrical appliances, i.e., crypto miners.


                                                                                                                      Tank




Appliances
are placed in
appliance
slots




                                                                                                                                      34
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                           ‘446 Claim 1 Chart of Midas Crypto Systems


Claim Limitation                                               Where Found
each in a respective appliance slot distributed vertically     The Midas Crypto Systems include appliance slots, e.g.,
along, and extending transverse to, a long wall of the tank,   each slot receiving a respective appliance, i.e., crypto
                                                               miners, each of those slots being distributed vertically
                                                               along, e.g., the appliance slot is distributed vertically down
                                                               into the tank, and extending traverse to the long wall of the
                                                               tank.




                                                                                                                           35
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                          ‘446 Claim 1 Chart of Midas Crypto Systems


Claim Limitation                                                 Where Found
the tank comprising:                                             The Midas Crypto Systems include a tank that includes a
                                                                 weir, integrated horizontally into the long wall of the tank
a weir, integrated horizontally into the long wall of the tank   adjacent all appliance slots, e.g., the weir having an
adjacent all appliance slots, adapted to facilitate              overflow lip adapted to facilitate substantially uniform
substantially uniform recovery of the dielectric fluid           recovery of the dielectric fluid flowing through each
flowing through each appliance slot; and                         appliance slot, e.g., the dielectric fluid in the tank flows
                                                                 over the lip of the weir extending along the long wall of the
                                                                 tank, thus facilitating substantially uniform recovery of the
                                                                 fluid flowing through each appliance slot in the tank.




                                                                                                                            36
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                          ‘446 Claim 1 Chart of Midas Crypto Systems


 Claim Limitation                                              Where Found
a primary circulation facility adapted to circulate the        The Midas Crypto Systems include a primary circulation
dielectric fluid through the tank,                             facility adapted to circulate the dielectric fluid through the
                                                               tank, e.g., the pump and associated piping sends the hot
                                                               dielectric fluid through the heat exchanger; cooled dielectric
                                                               fluid returns to the tank, entering the plenum positioned
                                                               adjacent the bottom of the tank; and the dielectric fluid
                                                               moves up through the tank to the previously illustrated weir,
                                                               then into the recovery reservoir, out to the collection tank,
                                                               and back to the pump.




                                                                                                                          37
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                           ‘446 Claim 1 Chart of Midas Crypto Systems


Claim Limitation                                             Where Found
comprising:                                                  The Midas Crypto Systems include a primary circulation
a plenum, positioned adjacent the bottom of the tank,        facility that includes a plenum, positioned adjacent the
adapted to dispense the dielectric fluid substantially       bottom of the tank, adapted to dispense the dielectric fluid
uniformly upwardly through each appliance slot;              substantially uniformly upwardly through each appliance
                                                             slot.




                                                                                                                        38
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                          ‘446 Claim 1 Chart of Midas Crypto Systems

Claim Limitation                                                 Where Found
                                                                 The Midas Crypto Systems include a secondary fluid
a secondary fluid circulation facility adapted to extract heat   circulation facility adapted to extract heat from the
from the dielectric fluid circulating in the primary             dielectric fluid circulating in the primary circulation facility,
circulation facility, and to dissipate to the environment the    and to dissipate to the environment the heat so extracted,
heat so extracted; and                                           e.g., water pump skid and cooling tower and associated
                                                                 pumps, heat exchangers, etc., that remove heat from the hot
                                                                 dielectric fluid and dissipate heat to the environment.




                                                                                                                         (1.)
        (1.) MIDAS0046261.

                                                                                                                                39
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                           ‘446 Claim 1 Chart of Midas Crypto Systems


Claim Limitation                                                Where Found
a control facility adapted to coordinate the operation of the   The Midas Crypto Systems include a control facility
primary and secondary fluid circulation facilities as a         adapted to coordinate the operation of the primary and
function of the temperature of the dielectric fluid in the      secondary fluid circulation facilities as a function of the
tank.                                                           temperature of the dielectric fluid in the tank, e.g., the
                                                                control box on the oil skid portion of the SC3TV4-152 or
                                                                SC2TV4-152 tank systems, the control box on the water
                                                                skid(s), the control system(s) in the cooling tower, and
                                                                including the various sensors and switches therein, and in
                                                                certain installations one or more centralized computer
                                                                systems specified or provided by a customer.




                                                                                                                              40
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                  ‘446 Dependent Claim 2 Chart of Midas Crypto Systems


Claim Limitation                                             Where Found
The system of claim 1 wherein the tank and primary           The Midas Crypto Systems include the system of claim 1
circulation facility comprise a tightly co-located module.   wherein the tank and primary circulation facility comprise a
                                                             tightly co-located module, i.e., the tank, plenum, and
                                                             circulation pump are tightly co-located.




                                                                                                                      41
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                         ‘446 Claim 5 Chart of Midas Crypto Systems

Claim Limitation                                               Where Found
The system of claim 1 wherein the control facility further     The Midas Crypto Systems include a control facility that
comprises a communication facility adapted to facilitate       further includes a communication facility adapted to
monitoring and control of the control facility from a remote   facilitate monitoring and control of the control facility from
location.                                                      a remote location, e.g., the various sensors located on the oil
                                                               skid portion of the SC3TV4-152 or SC2TV4-152 tank
                                                               systems, the sensors on the water skid(s), the sensors
                                                               associated with the cooling tower(s), including hardware
                                                               and/or transmission/interface wiring or other means of
                                                               communication for the sensors and various controllers, and
                                                               optionally including one or more centralized computer
                                                               systems specified or provided by a customer.




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                        ‘446 Claim 6 Chart of Midas Crypto Systems


Claim Limitation                                              Where Found
To the extent that the preamble may be limiting:              The Midas Crypto Systems are a tank module adapted for
                                                              use in an appliance immersion cooling system. “Appliance”
A tank module adapted for use in an appliance immersion
                                                              includes “contemporary computer servers”, ‘446 Patent,
cooling system, the tank module comprising:
                                                              col. 3, lines 47-48, e.g. Cryptocurrency Miners




                                                                                          (1.)
                               (1.) MIDAS0046255.




                                                                                                                     43
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                                      ‘446 Claim 6 Chart of Midas Crypto Systems


          Claim Limitation                                                 Where Found
          a tank adapted to immerse in a dielectric fluid a plurality of   The Midas Crypto Systems include a tank. Each tank is
          electrical appliances,                                           adapted to immerse in a dielectric fluid, a plurality of
                                                                           electrical appliances, i.e., crypto miners.


                                                                                                                      Tank




Appliances
are placed in
appliance
slots




                                                                                                                                      44
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                           ‘446 Claim 6 Chart of Midas Crypto Systems


Claim Limitation                                               Where Found
each in a respective appliance slot distributed vertically     The Midas Crypto Systems include appliance slots, e.g.,
along, and extending transverse to, a long wall of the tank,   each slot receiving a respective appliance, i.e., crypto
                                                               miners, each of those slots being distributed vertically
                                                               along, e.g., the appliance slot is distributed vertically down
                                                               into the tank, and extending traverse to the long wall of the
                                                               tank.




                                                                                                                           45
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                          ‘457 Claim 1 Chart of Midas Crypto Systems


Claim Limitation                                                 Where Found
the tank comprising:                                             The Midas Crypto Systems include a tank that includes a
                                                                 weir, integrated horizontally into the long wall of the tank
a weir, integrated horizontally into the long wall of the tank   adjacent all appliance slots, e.g., the weir adapted to
adjacent all appliance slots, adapted to facilitate              facilitate substantially uniform recovery of the dielectric
substantially uniform recovery of the dielectric fluid           fluid flowing through each appliance slot, e.g., the dielectric
flowing through each appliance slot; and                         fluid in the tank flows over the weir extending along the
                                                                 long wall of the tank, thus facilitating substantially uniform
                                                                 recovery of the fluid flowing through each appliance slot in
                                                                 the tank.




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                            ‘446 Claim 6 Chart of Midas Crypto Systems


 Claim Limitation                                              Where Found
                                                               The Midas Crypto Systems include a primary circulation
a primary circulation facility adapted to circulate the        facility adapted to circulate the dielectric fluid through the
dielectric fluid through the tank,                             tank, e.g., the pump and associated piping sends the hot
                                                               dielectric fluid through the heat exchanger; cooled dielectric
                                                               fluid returns to the tank, entering the plenum positioned
                                                               adjacent the bottom of the tank; and the dielectric fluid
                                                               moves up through the tank to the previously illustrated weir,
                                                               then into the recovery reservoir, out to the collection tank,
                                                               and back to the pump.




                                                                                                                          47
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                            ‘446 Claim 6 Chart of Midas Crypto Systems


 Claim Limitation                                             Where Found
 comprising:                                                  The Midas Crypto Systems include a primary circulation
 a plenum, positioned adjacent the bottom of the tank,        facility that includes a plenum, positioned adjacent the
 adapted to dispense the dielectric fluid substantially       bottom of the tank, adapted to dispense the dielectric fluid
 uniformly upwardly through each appliance slot; and          substantially uniformly upwardly through each appliance
                                                              slot.




Plenum




               (2.)
                                                    (1.)



 (1.) MIDAS0046265.
 (2.) MIDAS0046259.                                                                                                      48
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                          ‘446 Claim 6 Chart of Midas Crypto Systems


Claim Limitation                                              Where Found

a control facility adapted to coordinate the operation of     The Midas Crypto Systems include a control facility
the primary fluid circulation facility as a function of the   adapted to coordinate the operation of the primary (and
temperature of the dielectric fluid in the tank.              secondary fluid circulation facilities) as a function of
                                                              the temperature of the dielectric fluid in the tank, e.g.,
                                                              the control box on the oil skid portion of the SC3TV4-
                                                              152 or SC2TV4-152 tank systems, the control box on
                                                              the water skid(s), the control system(s) in the cooling
                                                              tower, and including the various sensors and switches
                                                              therein, and in certain installations one or more
                                                              centralized computer systems specified or provided by
                                                              a customer.




                                                                                                                      49
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                  ‘446 Dependent Claim 7 Chart of Midas Crypto Systems


Claim Limitation                                             Where Found
The module of claim 6 wherein the tank and primary           The Midas Crypto Systems include the module of claim 6
circulation facility comprise a tightly co-located module.   wherein the tank and primary circulation facility comprise a
                                                             tightly co-located module, i.e., the tank, plenum, and
                                                             circulation pump are tightly co-located.




                                                   Tank


                                         (1).                                                                     (2).


                                                                             Primary circulation facility
        Primary circulation facility
                                                                             (1.) MIDAS0046259.
                                                                             (2.) Id.

                                                                                                                         50
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                         ‘446 Claim 10 Chart of Midas Crypto Systems

Claim Limitation                                               Where Found
The module of claim 6 wherein the control facility further     The Midas Crypto Systems include a control facility
comprises a communication facility adapted to facilitate       adapted to coordinate the operation of the primary and
monitoring and control of the control facility from a remote   secondary fluid circulation facilities as a function of the
location.                                                      temperature of the dielectric fluid in the tank, e.g., the
                                                               control box on the oil skid portion of the SC3TV4-152 or
                                                               SC2TV4-152 tank systems, the control box on the water
                                                               skid(s), the control system(s) in the cooling tower, and
                                                               including the various sensors and switches therein, and in
                                                               certain installations one or more centralized computer
                                                               systems specified or provided by a customer.




                                                                                                                             51
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                            Exhibit B
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  ‘457 and ‘446 Claim Charts of Midas Commercial Embodiment - 50U Tank
                                  Systems

   These claim charts are intended to provide notice to defendants of Midas’ contention that its
Midas’ commercially-produced 50U Tank Systems, i.e., Midas’ XCIT4-50RM and XCIC4-50C,
optionally including a water pump skid and cooling tower, practice the asserted claims, i.e., ‘457
Patent, Claims 1, 2, 5, 6, 7, 10, 11, 14, 15, and 16; and ‘446 Patent, Claims 1, 2, 5, 6, 7, and 10. These
claim charts are believed to be applicable to the entirety of Midas’ developmental XCIT and XCIC
50U tanks, for example, the following: XCIT4-50RM, 50U Tank with redundant water-cooling
modules; XCIT5-50SM, 50U Tank with single water-cooling module and Manifold; and XCIT5-
50RM, 50U Tank with redundant water-cooling modules and Manifold.

   Each claim element or limitation of the asserted claims is literally present in the Midas 50U Tank
Systems. Any claim element or limitation that is not literally present in the Midas 50U Tank Systems
(if any), is present under a doctrine of equivalents.




                                                                                                              1
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        ‘457 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                               Specific Identification Where Each Element is Found Within
                                                      MGT Commercial Embodiment
An appliance immersion cooling system comprising:
                                                          The MGT Commercial Embodiment is an appliance
                                                          immersion cooling system. “Appliance” includes
                                                          “contemporary computer servers”, see generally
                                                          MIDAS0044216-44293.




                                                                                  (1.)


    (1.) MIDAS0044216-44293
                                                                                                               2
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          ‘457 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment


a tank adapted to immerse in a dielectric fluid a plurality of       The MGT Commercial Embodiment includes a tank. The
electrical appliances,                                               tank is adapted to immerse in a dielectric fluid, a plurality
                                                                     of electrical appliances.




                              tank




                                                                     appliances




  (Perspective view)
                                      (Section view)
                                                                                                                                     3
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         ‘457 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

each in a respective appliance slot distributed vertically         The MGT Commercial Embodiment includes appliance
along, and extending transverse to, a long wall of the tank,       slots, e.g., each slot receiving a respective appliance, each
                                                                   of those slots being distributed vertically along, e.g., the
                                                                   appliance slot is distributed vertically down into the tank,
                                                                   and extending traverse to the long wall of the tank.




                                                                           appliance slots




                                                                                                                                   4
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          ‘457 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment
the tank comprising:                                                 The MGT Commercial Embodiment includes a tank that
                                                                     includes a weir, integrated horizontally into the long wall of
a weir, integrated horizontally into the long wall of the tank       the tank adjacent all appliance slots, e.g., the weir having an
adjacent all appliance slots, having an overflow lip adapted         overflow lip adapted to facilitate substantially uniform
to facilitate substantially uniform recovery of the dielectric       recovery of the dielectric fluid flowing through each
fluid flowing through each appliance slot; and                       appliance slot, e.g., the dielectric fluid in the tank flows
                                                                     over the lip of the weir extending along the long wall of the
                                                                     tank, thus facilitating substantially uniform recovery of the
                                                                     fluid flowing through each appliance slot in the tank.




                                                          the weir

                                                                                                                                   5
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         ‘457 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                       Specific Identification Where Each Element is Found Within
                                                              MGT Commercial Embodiment
a dielectric fluid recovery reservoir positioned vertically
beneath the overflow lip of the weir and adapted to receive       The MGT Commercial Embodiment includes a tank that
the dielectric fluid as it flows over the weir                    includes a dielectric fluid recovery reservoir positioned
                                                                  vertically beneath the overflow lip of the weir and adapted
                                                                  to receive the dielectric fluid as it flows over the weir.




                                                                 control
                                                                 facility


                                                                                                               reservoir




                                                                                                                                6
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          ‘457 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                            MGT Commercial Embodiment
                                                                The MGT Commercial Embodiment includes a primary
a primary circulation facility adapted to circulate the         circulation facility adapted to circulate the dielectric fluid
dielectric fluid through the tank                               through the tank, e.g., the pump sends the hot dielectric
                                                                fluid out to the heat exchanger; cooled dielectric fluid
                                                                returns to the tank, entering the plenum positioned adjacent
                                                                the bottom of the tank; and the dielectric fluid moves up
                                                                through the tank to the previously illustrated weir, then into
                                                                the recovery reservoir, out to the collection tank, and back
                                                                to the pump.
                                                                                                                          *




                                                                                                                        *

   (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)                         7
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         ‘457 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                   Specific Identification Where Each Element is Found Within
                                                          MGT Commercial Embodiment
comprising:                                                   The MGT Commercial Embodiment includes a primary
a plenum, positioned adjacent the bottom of the tank,         circulation facility that includes a plenum, positioned
adapted to dispense the dielectric fluid substantially        adjacent the bottom of the tank, adapted to dispense the
uniformly upwardly through each appliance slot;               dielectric fluid substantially uniformly upwardly through
                                                              each appliance slot.




                         plenum




                                                                                                                          8
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          ‘457 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment

a secondary fluid circulation facility adapted to extract heat       The MGT Commercial Embodiment includes a secondary
from the dielectric fluid circulating in the primary                 fluid circulation facility adapted to extract heat from the
circulation facility, and to dissipate to the environment the        dielectric fluid circulating in the primary circulation facility,
heat so extracted; and                                               and to dissipate to the environment the heat so extracted.

                                                                                                                              *




                                                                                                                             *

   (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)                                9
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          ‘457 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                               Specific Identification Where Each Element is Found Within
                                                                      MGT Commercial Embodiment
a control facility adapted to coordinate the operation of the
primary and secondary fluid circulation facilities as a function of       The MGT Commercial Embodiment includes a control facility
the temperature of the dielectric fluid in the tank.                      adapted to coordinate the operation of the primary and secondary
                                                                          fluid circulation facilities as a function of the temperature of the
                                                                          dielectric fluid in the tank. See, e.g., tank rendering on p. 11.
                                      (2.)
                                                                                                                                      (3.)




                                                              Temperature sensor




                                                                                 (4.)




                                                                          (5.)      (2.) Midas XCI System User Manual, pg. 81.
                                                                                    (3.) Midas XCI System User Manual, pg. 83.
                                                                                    (4.) Midas XCI System User Manual, pg. 28.
                                                                                    (5.) Midas Green Tech Tank & Oil Cooling P&ID
                                                                                    System, pg. 1 of 1, Deaton Engineering, Inc.
                         Temperature sensor                                         (Original Issue 5-10-2013; Release 4-2-2014)


                                                                                                                                             10
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  ‘457 Dependent Claim 2 Chart of Midas Commercial Embodiment - 50U Tank

  Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                              MGT Commercial Embodiment

  The system of claim 1 wherein the tank and primary               The MGT Commercial Embodiment includes the system of
  circulation facility comprise a highly-integrated module.        claim 1 wherein the tank and primary circulation facility
                                                                   comprise a highly-integrated module.




Tank




                                                        Primary circulation facility



                                      Plenum                                                                              11
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         ‘457 Claim 5 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

The system of claim 1 wherein the control facility further         The MGT Commercial Embodiment includes the control
comprises a communication facility adapted to facilitate           facility that further includes a communication facility
monitoring and control of the control facility from a remote       adapted to facilitate monitoring and control of the control
location.                                                          facility from a remote location.



                                                                                                                         (7.)
                                           (6.)




     (6.) Midas XCI System User Manual, pg. 10.                         (7.) Midas XCI System User Manual, pg. 27.               12
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         ‘457 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                   Specific Identification Where Each Element is Found Within
                                                          MGT Commercial Embodiment

A tank module adapted for use in an appliance immersion       The MGT Commercial Embodiment is a tank module
cooling system, the tank module comprising:                   adapted for use in an appliance immersion cooling system.
                                                              “Appliance” includes “contemporary computer servers.”
                                                              See generally MIDAS0044216-44293.




                                                                                        (1.)


     (1.) Midas XCI System User Manual, pg. 10, Midas Green Technologies, LLC (2021)
                                                                                                                      13
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          ‘457 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment


                                                                     The MGT Commercial Embodiment includes a tank. The
a tank adapted to immerse in a dielectric fluid a plurality of       tank is adapted to immerse in a dielectric fluid, a plurality
electrical appliances,                                               of electrical appliances.




                              tank




                                                                     appliances




  (Perspective view)
                                      (Section view)
                                                                                                                                     14
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         ‘457 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

each in a respective appliance slot distributed vertically         The MGT Commercial Embodiment includes appliance
along, and extending transverse to, a long wall of the tank,       slots, e.g., each slot receiving a respective appliance, each
                                                                   of those slots being distributed vertically along, e.g., the
                                                                   appliance slot is distributed vertically down into the tank,
                                                                   and extending traverse to the long wall of the tank.




                                                                           appliance slots




                                                                                                                                   15
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          ‘457 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment
the tank comprising:                                                 The MGT Commercial Embodiment includes a tank that
                                                                     includes a weir, integrated horizontally into the long wall of
a weir, integrated horizontally into the long wall of the tank       the tank adjacent all appliance slots, e.g., the weir having an
adjacent all appliance slots, having an overflow lip adapted         overflow lip adapted to facilitate substantially uniform
to facilitate substantially uniform recovery of the dielectric       recovery of the dielectric fluid flowing through each
fluid flowing through each appliance slot; and                       appliance slot, e.g., the dielectric fluid in the tank flows
                                                                     over the lip of the weir extending along the long wall of the
                                                                     tank, thus facilitating substantially uniform recovery of the
                                                                     fluid flowing through each appliance slot in the tank.




                                                          the weir

                                                                                                                                 16
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         ‘457 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                       Specific Identification Where Each Element is Found Within
                                                              MGT Commercial Embodiment
a dielectric fluid recovery reservoir positioned vertically
beneath the overflow lip of the weir and adapted to receive       The MGT Commercial Embodiment includes a tank that
the dielectric fluid as it flows over the weir                    includes a dielectric fluid recovery reservoir positioned
                                                                  vertically beneath the overflow lip of the weir and adapted
                                                                  to receive the dielectric fluid as it flows over the weir.




                                                                                                               reservoir




                                                                                                                            17
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          ‘457 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                            MGT Commercial Embodiment

a primary circulation facility adapted to circulate the          The MGT Commercial Embodiment includes a primary
dielectric fluid through the tank                                circulation facility adapted to circulate the dielectric fluid
                                                                 through the tank, e.g., the pump sends the hot dielectric
                                                                 fluid out to the heat exchanger; cooled dielectric fluid
                                                                 returns to the tank, entering the plenum positioned adjacent
                                                                 the bottom of the tank; and the dielectric fluid moves up
                                                                 through the tank to the previously illustrated weir, then into
                                                                 the recovery reservoir, out to the collection tank, and back
                                                                 to the pump.
                                                                                                                           *




                                                                                                                       *

                          (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)18
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         ‘457 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                   Specific Identification Where Each Element is Found Within
                                                          MGT Commercial Embodiment
comprising:                                                   The MGT Commercial Embodiment includes a primary
a plenum, positioned adjacent the bottom of the tank,         circulation facility that includes a plenum, positioned
adapted to dispense the dielectric fluid substantially        adjacent the bottom of the tank, adapted to dispense the
uniformly upwardly through each appliance slot;               dielectric fluid substantially uniformly upwardly through
                                                              each appliance slot.




                         plenum




                                                                                                                          19
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          ‘457 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                         Specific Identification Where Each Element is Found Within
                                                                MGT Commercial Embodiment
a control facility adapted to coordinate the operation of the       The MGT Commercial Embodiment includes a control
primary fluid circulation facility as a function of the             facility adapted to coordinate the operation of the primary
temperature of the dielectric fluid in the tank.                    fluid circulation facility as a function of the temperature of
                                                                    the dielectric fluid in the tank. See, e.g., tank rendering on p.
                                                                    21.
                                   (2.)
                                                                                                                            (3.)




                                                         Temperature sensor




                                                                           (4.)




                                                                    (5.)      (2.) Midas XCI System User Manual, pg. 81.
                                                                              (3.) Midas XCI System User Manual, pg. 83.
                                                                              (4.) Midas XCI System User Manual, pg. 28.
                                                                              (5.) Midas Green Tech Tank & Oil Cooling P&ID
                                                                              System, pg. 1 of 1, Deaton Engineering, Inc.
                       Temperature sensor                                     (Original Issue 5-10-2013; Release 4-2-2014)


                                                                                                                                   20
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  ‘457 Dependent Claim 7 Chart of Midas Commercial Embodiment - 50U Tank

  Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                              MGT Commercial Embodiment

  The module of claim 6 wherein the tank and primary               The MGT Commercial Embodiment includes the module of
  circulation facility comprise a highly-integrated module.        claim 6 wherein the tank and primary circulation facility
                                                                   comprise a highly-integrated module.




Tank                            Control
                                facility




                                                        Primary circulation facility



                                      Plenum                                                                              21
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        ‘457 Claim 10 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

The module of claim 6 wherein the control facility further         The MGT Commercial Embodiment includes the control
comprises a communication facility adapted to facilitate           facility that further includes a communication facility
monitoring and control of the control facility from a remote       adapted to facilitate monitoring and control of the control
location.                                                          facility from a remote location.



                                                                                                                         (7.)
                                           (6.)




     (6.) Midas XCI System User Manual, pg. 10.                         (7.) Midas XCI System User Manual, pg. 27.               22
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        ‘457 Claim 11 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                   Specific Identification Where Each Element is Found Within
                                                          MGT Commercial Embodiment

A tank module adapted for use in an appliance immersion       The MGT Commercial Embodiment is a tank module
cooling system, the tank module comprising:                   adapted for use in an appliance immersion cooling system.
                                                              “Appliance” includes “contemporary computer servers.”
                                                              See generally MIDAS0044216-44293.




                                                                                        (1.)


     (1.) Midas XCI System User Manual, pg. 10, Midas Green Technologies, LLC (2021)
                                                                                                                      23
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         ‘457 Claim 11 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment

                                                                     The MGT Commercial Embodiment includes a tank. The
a tank adapted to immerse in a dielectric fluid a plurality of
                                                                     tank is adapted to immerse in a dielectric fluid, a plurality
electrical appliances,
                                                                     of electrical appliances.




                              tank




                                                                     appliances




  (Perspective view)
                                      (Section view)
                                                                                                                                     24
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         ‘457 Claim 11 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                         Specific Identification Where Each Element is Found Within
                                                                MGT Commercial Embodiment

each in a respective appliance slot distributed vertically          The MGT Commercial Embodiment includes appliance
along, and extending transverse to, a long wall of the tank ,       slots, e.g., each slot receiving a respective appliance, each
                                                                    of those slots being distributed vertically along, e.g., the
                                                                    appliance slot is distributed vertically down into the tank,
                                                                    and extending traverse to the long wall of the tank.




                                                                            appliance slots




                                                                                                                                    25
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         ‘457 Claim 11 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment
the tank comprising:                                                 The MGT Commercial Embodiment includes a tank that
                                                                     includes a weir, integrated horizontally into the long wall of
a weir, integrated horizontally into the long wall of the tank       the tank adjacent all appliance slots, e.g., the weir having an
adjacent all appliance slots, having an overflow lip adapted         overflow lip adapted to facilitate substantially uniform
to facilitate substantially uniform recovery of the dielectric       recovery of the dielectric fluid flowing through each
fluid flowing through each appliance slot;                           appliance slot, e.g., the dielectric fluid in the tank flows
                                                                     over the lip of the weir extending along the long wall of the
                                                                     tank, thus facilitating substantially uniform recovery of the
                                                                     fluid flowing through each appliance slot in the tank.




                                                          the weir

                                                                                                                                 26
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         ‘457 Claim 11 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                            MGT Commercial Embodiment
                                                                The MGT Commercial Embodiment includes a primary
a primary circulation facility adapted to circulate the
                                                                circulation facility adapted to circulate the dielectric fluid
dielectric fluid through the tank,
                                                                through the tank, e.g., the pump sends the hot dielectric
                                                                fluid out to the heat exchanger; cooled dielectric fluid
                                                                returns to the tank, entering the plenum positioned adjacent
                                                                the bottom of the tank; and the dielectric fluid moves up
                                                                through the tank to the previously illustrated weir, then into
                                                                the recovery reservoir, out to the collection tank, and back
                                                                to the pump.
                                                                                                                       *




                                                                                                                       *

                         (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)27
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        ‘457 Claim 11 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                   Specific Identification Where Each Element is Found Within
                                                          MGT Commercial Embodiment
comprising:                                                   The MGT Commercial Embodiment includes a primary
a plenum, positioned adjacent the bottom of the tank,         circulation facility that includes a plenum, positioned
adapted to dispense the dielectric fluid substantially        adjacent the bottom of the tank, adapted to dispense the
uniformly upwardly through each appliance slot;               dielectric fluid substantially uniformly upwardly through
                                                              each appliance slot.




                         plenum




                                                                                                                          28
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         ‘457 Claim 11 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                         Specific Identification Where Each Element is Found Within
                                                                MGT Commercial Embodiment

a control facility adapted to coordinate the operation of the       The MGT Commercial Embodiment includes a control
primary fluid circulation facility as a function of the             facility adapted to coordinate the operation of the primary
temperature of the dielectric fluid in the tank.                    fluid circulation facility as a function of the temperature of
                                                                    the dielectric fluid in the tank. See, e.g., tank rendering on p.
                                                                    21.
                                   (2.)
                                                                                                                            (3.)




                                                         Temperature sensor




                                                                           (4.)




                                                                    (5.)      (2.) Midas XCI System User Manual, pg. 81.
                                                                              (3.) Midas XCI System User Manual, pg. 83.
                                                                              (4.) Midas XCI System User Manual, pg. 28.
                                                                              (5.) Midas Green Tech Tank & Oil Cooling P&ID
                                                                              System, pg. 1 of 1, Deaton Engineering, Inc.
                       Temperature sensor                                     (Original Issue 5-10-2013; Release 4-2-2014)


                                                                                                                                   29
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        ‘457 Claim 14 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

The module of claim 11 wherein the control facility further        The MGT Commercial Embodiment includes the control
comprises a communication facility adapted to facilitate           facility that further includes a communication facility
monitoring and control of the control facility from a remote       adapted to facilitate monitoring and control of the control
location.                                                          facility from a remote location.



                                                                                                                         (7.)
                                           (6.)




     (6.) Midas XCI System User Manual, pg. 10.                         (7.) Midas XCI System User Manual, pg. 27.               30
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   ‘457 Dependent Claim 15 Chart of Midas Commercial Embodiment - 50U
                                   Tank

Asserted Claim Elements                                    Specific Identification Where Each Element is Found Within
                                                           MGT Commercial Embodiment
An appliance immersion cooling system comprising a tank        The MGT Commercial Embodiment includes an appliance
module according to any one of the preceding claims 11         immersion cooling system comprising a tank module
through 14.                                                    according to any one of the preceding claims 11 through 14.




                                                                                            (1.)
    (1.) Midas XCI System User Manual, pg. 10, Midas Green Technologies, LLC (2021)
    See charted claims 11–14 in reference to a tank module according to any one of the preceding                       31
    claims 11 through 14.
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    ‘457 Dependent Claim 16 Chart of Midas Commercial Embodiment - 50U
                                    Tank
Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment
An appliance immersion cooling system according to claim             The MGT Commercial Embodiment includes an appliance
15, further comprising:                                              immersion cooling system according to claim 15, further
                                                                     comprising secondary fluid circulation facility adapted to
a secondary fluid circulation facility adapted to extract heat       extract heat from the dielectric fluid circulating in the
from the dielectric fluid circulating in the primary                 primary circulation facility, and to dissipate to the
circulation facility, and to dissipate to the environment the        environment the heat so extracted.
heat so extracted.



                                                                                                                            *




                                                                                                                        *

                          (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)32
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        ‘446 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                Specific Identification Where Each Element is Found Within
                                                       MGT Commercial Embodiment
An appliance immersion cooling system comprising:
                                                           The MGT Commercial Embodiment is an appliance
                                                           immersion cooling system. “Appliance” includes
                                                           “contemporary computer servers.” See generally
                                                           MIDAS0044216-44293.




                                                                                       (1.)


    (1.) Midas XCI System User Manual, pg. 10, Midas Green Technologies, LLC (2021)
                                                                                                               33
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          ‘446 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment

                                                                     The MGT Commercial Embodiment includes a tank. The
a tank adapted to immerse in a dielectric fluid a plurality of       tank is adapted to immerse in a dielectric fluid, a plurality
electrical appliances,                                               of electrical appliances.




                              tank




                                                                     appliances




  (Perspective view)
                                      (Section view)
                                                                                                                                     34
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         ‘446 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment
each in a respective appliance slot distributed vertically
along, and extending transverse to, a long wall of the tank,       The MGT Commercial Embodiment includes appliance
                                                                   slots, e.g., each slot receiving a respective appliance, each
                                                                   of those slots being distributed vertically along, e.g., the
                                                                   appliance slot is distributed vertically down into the tank,
                                                                   and extending traverse to the long wall of the tank.




                                                                           appliance slots




                                                                                                                                   35
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          ‘446 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment
the tank comprising:                                                 The MGT Commercial Embodiment includes a tank that
                                                                     includes a weir, integrated horizontally into the long wall of
a weir, integrated horizontally into the long wall of the tank       the tank adjacent all appliance slots, e.g., the weir adapted
adjacent all appliance slots, adapted to facilitate                  to facilitate substantially uniform recovery of the dielectric
substantially uniform recovery of the dielectric fluid               fluid flowing through each appliance slot, e.g., the dielectric
flowing through each appliance slot; and                             fluid in the tank flows over the weir extending along the
                                                                     long wall of the tank, thus facilitating substantially uniform
                                                                     recovery of the fluid flowing through each appliance slot in
                                                                     the tank.




                                                          the weir

                                                                                                                                 36
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          ‘446 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                            MGT Commercial Embodiment
                                                                 The MGT Commercial Embodiment includes a primary
a primary circulation facility adapted to circulate the          circulation facility adapted to circulate the dielectric fluid
dielectric fluid through the tank,                               through the tank, e.g., the pump sends the hot dielectric
                                                                 fluid out to the heat exchanger; cooled dielectric fluid
                                                                 returns to the tank, entering the plenum positioned adjacent
                                                                 the bottom of the tank; and the dielectric fluid moves up
                                                                 through the tank to the previously illustrated weir, then into
                                                                 the recovery reservoir, out to the collection tank, and back
                                                                 to the pump.
                                                                                                                        *




                                                                                                                        *

                            (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)
                                                                                                                          37
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         ‘446 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                   Specific Identification Where Each Element is Found Within
                                                          MGT Commercial Embodiment
comprising:                                                   The MGT Commercial Embodiment includes a primary
a plenum, positioned adjacent the bottom of the tank,         circulation facility that includes a plenum, positioned
adapted to dispense the dielectric fluid substantially        adjacent the bottom of the tank, adapted to dispense the
uniformly upwardly through each appliance slot;               dielectric fluid substantially uniformly upwardly through
                                                              each appliance slot.




                         plenum




                                                                                                                          38
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          ‘446 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment

a secondary fluid circulation facility adapted to extract heat       The MGT Commercial Embodiment includes a secondary
from the dielectric fluid circulating in the primary                 fluid circulation facility adapted to extract heat from the
circulation facility, and to dissipate to the environment the        dielectric fluid circulating in the primary circulation facility,
heat so extracted; and                                               and to dissipate to the environment the heat so extracted.


                                                                                                                             *




                                                                                                                             *

                            (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)
                                                                                                                          39
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          ‘446 Claim 1 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                         Specific Identification Where Each Element is Found Within
                                                                MGT Commercial Embodiment

a control facility adapted to coordinate the operation of the       The MGT Commercial Embodiment includes a control
primary and secondary fluid circulation facilities as a             facility adapted to coordinate the operation of the primary
function of the temperature of the dielectric fluid in the          and secondary fluid circulation facilities as a function of the
tank.                                                               temperature of the dielectric fluid in the tank. See, e.g., tank
                                                                    rending on p. 41.
                                   (2.)
                                                                                                                            (3.)




                                                         Temperature sensor




                                                                           (4.)




                                                                    (5.)      (2.) Midas XCI System User Manual, pg. 81.
                                                                              (3.) Midas XCI System User Manual, pg. 83.
                                                                              (4.) Midas XCI System User Manual, pg. 28.
                                                                              (5.) Midas Green Tech Tank & Oil Cooling P&ID
                                                                              System, pg. 1 of 1, Deaton Engineering, Inc.
                       Temperature sensor                                     (Original Issue 5-10-2013; Release 4-2-2014)


                                                                                                                                   40
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  ‘446 Dependent Claim 2 Chart of Midas Commercial Embodiment - 50U Tank

  Asserted Claim Elements                                      Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

  The system of claim 1 wherein the tank and primary                The MGT Commercial Embodiment includes the system of
  circulation facility comprise a tightly co-located module.        claim 1 wherein the tank and primary circulation facility
                                                                    comprise a tightly co-located module.




                               Control
                               facility
Tank




                                               Primary circulation facility



                                      Plenum                                                                               41
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         ‘446 Claim 5 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

The system of claim 1 wherein the control facility further         The MGT Commercial Embodiment includes the control
comprises a communication facility adapted to facilitate           facility that further includes a communication facility
monitoring and control of the control facility from a remote       adapted to facilitate monitoring and control of the control
location.                                                          facility from a remote location



                                                                                                                         (7.)
                                           (6.)




     (6.) Midas XCI System User Manual, pg. 10.                         (7.) Midas XCI System User Manual, pg. 27.               42
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         ‘446 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                   Specific Identification Where Each Element is Found Within
                                                          MGT Commercial Embodiment

A tank module adapted for use in an appliance immersion       The MGT Commercial Embodiment is a tank module
cooling system, the tank module comprising:                   adapted for use in an appliance immersion cooling system.
                                                              “Appliance” includes “contemporary computer servers.”
                                                              See generally MIDAS0044216-44293.




                                                                                        (1.)


     (1.) Midas XCI System User Manual, pg. 10, Midas Green Technologies, LLC (2021)
                                                                                                                      43
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          ‘446 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment


                                                                     The MGT Commercial Embodiment includes a tank. The
a tank adapted to immerse in a dielectric fluid a plurality of       tank is adapted to immerse in a dielectric fluid, a plurality
electrical appliances,                                               of electrical appliances.




                              tank




                                                                     appliances




  (Perspective view)
                                      (Section view)
                                                                                                                                     44
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         ‘446 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

each in a respective appliance slot distributed vertically         The MGT Commercial Embodiment includes appliance
along, and extending transverse to, a long wall of the tank,       slots, e.g., each slot receiving a respective appliance, each
                                                                   of those slots being distributed vertically along, e.g., the
                                                                   appliance slot is distributed vertically down into the tank,
                                                                   and extending traverse to the long wall of the tank.




                                                                           appliance slots




                                                                                                                                   45
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          ‘446 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment
the tank comprising:                                                 The MGT Commercial Embodiment includes a tank that
                                                                     includes a weir, integrated horizontally into the long wall of
a weir, integrated horizontally into the long wall of the tank       the tank adjacent all appliance slots, e.g., the weir adapted
adjacent all appliance slots, adapted to facilitate                  to facilitate substantially uniform recovery of the dielectric
substantially uniform recovery of the dielectric fluid               fluid flowing through each appliance slot, e.g., the dielectric
flowing through each appliance slot; and                             fluid in the tank flows over the weir extending along the
                                                                     long wall of the tank, thus facilitating substantially uniform
                                                                     recovery of the fluid flowing through each appliance slot in
                                                                     the tank.




                                                          the weir

                                                                                                                                 46
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          ‘446 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                            MGT Commercial Embodiment
                                                                 The MGT Commercial Embodiment includes a primary
a primary circulation facility adapted to circulate the          circulation facility adapted to circulate the dielectric fluid
dielectric fluid through the tank,                               through the tank, e.g., the pump sends the hot dielectric
                                                                 fluid out to the heat exchanger; cooled dielectric fluid
                                                                 returns to the tank, entering the plenum positioned adjacent
                                                                 the bottom of the tank; and the dielectric fluid moves up
                                                                 through the tank to the previously illustrated weir, then into
                                                                 the recovery reservoir, out to the collection tank, and back
                                                                 to the pump.
                                                                                                                            *




                                                                                                                        *

                            (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)
                                                                                                                          47
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         ‘446 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                  Specific Identification Where Each Element is Found Within
                                                         MGT Commercial Embodiment
comprising:                                                  The MGT Commercial Embodiment includes a primary
a plenum, positioned adjacent the bottom of the tank,        circulation facility that includes a plenum, positioned
adapted to dispense the dielectric fluid substantially       adjacent the bottom of the tank, adapted to dispense the
uniformly upwardly through each appliance slot;              dielectric fluid substantially uniformly upwardly through
                                                             each appliance slot.




                         plenum




                                                                                                                         48
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          ‘446 Claim 6 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                         Specific Identification Where Each Element is Found Within
                                                                MGT Commercial Embodiment

a control facility adapted to coordinate the operation of the       The MGT Commercial Embodiment includes a control
primary fluid circulation facility as a function of the             facility adapted to coordinate the operation of the primary
temperature of the dielectric fluid in the tank.                    circulation facility as a function of the temperature of the
                                                                    dielectric fluid in the tank. See, e.g., tank rendering on p. 51.
                                   (2.)
                                                                                                                            (3.)




                                                         Temperature sensor




                                                                           (4.)




                                                                    (5.)
                                                                              (2.) Midas XCI System User Manual, pg. 81.
                                                                              (3.) Midas XCI System User Manual, pg. 83.
                                                                              (4.) Midas XCI System User Manual, pg. 28.
                                                                              (5.) Midas Green Tech Tank & Oil Cooling P&ID
                       Temperature sensor                                     System, pg. 1 of 1, Deaton Engineering, Inc.
                                                                              (Original Issue 5-10-2013; Release 4-2-2014)

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  ‘446 Dependent Claim 7 Chart of Midas Commercial Embodiment - 50U Tank

  Asserted Claim Elements                                      Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

  The module of claim 6 wherein the tank and primary                The MGT Commercial Embodiment includes the module of
  circulation facility comprise a tightly co-located module.        claim 6 wherein the tank and primary circulation facility
                                                                    comprise a tightly co-located module.




                                Control
Tank
                                facility




                                                         Primary circulation facility



                                      Plenum                                                                               50
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        ‘446 Claim 10 Chart of Midas Commercial Embodiment - 50U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

The module of claim 6 wherein the control facility further         The MGT Commercial Embodiment includes the control
comprises a communication facility adapted to facilitate           facility that further includes a communication facility
monitoring and control of the control facility from a remote       adapted to facilitate monitoring and control of the control
location.                                                          facility from a remote location.



                                                                                                                         (7.)
                                           (6.)




     (6.) Midas XCI System User Manual, pg. 10.                         (7.) Midas XCI System User Manual, pg. 27.               51
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                            Exhibit C
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  ‘457 and ‘446 Claim Charts of Midas Commercial Embodiment - 12U Tank
                                  Systems
   These claim charts are intended to provide notice to defendants of Midas’ contention that its
Midas’ commercially-produced 12U Tank Systems, i.e., Midas’ XCI4S-W-12 and XCI4S-A-3 practice
the asserted claims, i.e., ‘457 Patent, Claims 1, 2, 5, 6, 7, 10, 11, 14, 15, and 16; and ‘446 Patent,
Claims 1, 2, 5, 6, 7, and 10. These claim charts are believed to be applicable to the entirety of Midas’
developmental XCI4S tank systems, for example, the following: XCI4S-W-25 and XCI4S-A-12 tank
systems.

   Each claim element or limitation of the asserted claims is literally present in the Midas 12U Tank
Systems. Any claim element or limitation that is not literally present in the Midas 12U Tank Systems
(if any), is present under a doctrine of equivalents.




                                                                                                            1
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         ‘457 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                Specific Identification Where Each Element is Found Within
                                                       MGT Commercial Embodiment
1. An appliance immersion cooling system comprising:
                                                           The MGT Commercial Embodiment is an appliance
                                                           immersion cooling system. “Appliance” includes
                                                           “contemporary computer servers.” See generally
                                                           MIDAS0044216-44293.




                                                                                      (1.)


    (1.) Midas XCI System User Manual, pg. 10, Midas Green Technologies, LLC (2021)
                                                                                                                2
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          ‘457 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment
a tank adapted to immerse in a dielectric fluid a plurality of       The MGT Commercial Embodiment includes a tank. The
electrical appliances,                                               tank is adapted to immerse in a dielectric fluid, a plurality
                                                                     of electrical appliances.




                              tank




                                                                      control
                                                                      facility




                                                                     appliances




  (Perspective view)
                                      (Section view)
                                                                                                                                     3
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          ‘457 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

each in a respective appliance slot distributed vertically         The MGT Commercial Embodiment includes appliance
along, and extending transverse to, a long wall of the tank,       slots, e.g., each slot receiving a respective appliance, each
                                                                   of those slots being distributed vertically along, e.g., the
                                                                   appliance slot is distributed vertically down into the tank,
                                                                   and extending traverse to the long wall of the tank.




                                                                                                                                   4
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          ‘457 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment
the tank comprising:                                                 The MGT Commercial Embodiment includes a tank that
                                                                     includes a weir, integrated horizontally into the long wall of
a weir, integrated horizontally into the long wall of the tank       the tank adjacent all appliance slots, e.g., the weir having an
adjacent all appliance slots, having an overflow lip adapted         overflow lip adapted to facilitate substantially uniform
to facilitate substantially uniform recovery of the dielectric       recovery of the dielectric fluid flowing through each
fluid flowing through each appliance slot; and                       appliance slot, e.g., the dielectric fluid in the tank flows
                                                                     over the lip of the weir extending along the long wall of the
                                                                     tank, thus facilitating substantially uniform recovery of the
                                                                     fluid flowing through each appliance slot in the tank.




                                                                        The weir




                                                                                                                                   5
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          ‘457 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                       Specific Identification Where Each Element is Found Within
                                                              MGT Commercial Embodiment

                                                                  The MGT Commercial Embodiment includes a tank that
a dielectric fluid recovery reservoir positioned vertically       includes a dielectric fluid recovery reservoir positioned
beneath the overflow lip of the weir and adapted to receive       vertically beneath the overflow lip of the weir and adapted
the dielectric fluid as it flows over the weir                    to receive the dielectric fluid as it flows over the weir.




                                                                         Weir

                                                                                                           Reservoir




                                                                                                                                6
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          ‘457 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                    Specific Identification Where Each Element is Found Within
                                                           MGT Commercial Embodiment
                                                               The MGT Commercial Embodiment includes a primary
a primary circulation facility adapted to circulate the        circulation facility adapted to circulate the dielectric fluid
dielectric fluid through the tank                              through the tank, e.g., the pump sends the hot dielectric
                                                               fluid out to the heat exchanger; cooled dielectric fluid
                                                               returns to the tank, entering the plenum positioned adjacent
                                                               the bottom of the tank; and the dielectric fluid moves up
                                                               through the tank to the previously illustrated weir, then into
                                                               the recovery reservoir, out to the collection tank, and back
                                                               to the pump.
                                                                                                                         *




                                                                                                                       *

   (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)                        7
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          ‘457 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                  Specific Identification Where Each Element is Found Within
                                                         MGT Commercial Embodiment
comprising:                                                  The MGT Commercial Embodiment includes a primary
a plenum, positioned adjacent the bottom of the tank,        circulation facility that includes a plenum, positioned
adapted to dispense the dielectric fluid substantially       adjacent the bottom of the tank, adapted to dispense the
uniformly upwardly through each appliance slot;              dielectric fluid substantially uniformly upwardly through
                                                             each appliance slot.




                                                                                                               plenum



                         plenum




                                                                                                                         8
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          ‘457 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment

a secondary fluid circulation facility adapted to extract heat       The MGT Commercial Embodiment includes a secondary
from the dielectric fluid circulating in the primary                 fluid circulation facility adapted to extract heat from the
circulation facility, and to dissipate to the environment the        dielectric fluid circulating in the primary circulation facility,
heat so extracted; and                                               and to dissipate to the environment the heat so extracted.

                                                                                                                              *




                                                                                                                             *

   (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)                                9
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          ‘457 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                         Specific Identification Where Each Element is Found Within
                                                                MGT Commercial Embodiment
                                                                    The MGT Commercial Embodiment includes a control
a control facility adapted to coordinate the operation of the       facility adapted to coordinate the operation of the primary and
primary and secondary fluid circulation facilities as a             secondary fluid circulation facilities as a function of the
function of the temperature of the dielectric fluid in the          temperature of the dielectric fluid in the tank.
tank.
                                   (2.)
                                                                                                                         (3.)




                                                         Temperature sensor




                                                                           (4.)




                                                                    (5.)      (2.) Midas XCI System User Manual, pg. 81.
                                                                              (3.) Midas XCI System User Manual, pg. 83.
                                                                              (4.) Midas XCI System User Manual, pg. 28.
                                                                              (5.) Midas Green Tech Tank & Oil Cooling P&ID
                                                                              System, pg. 1 of 1, Deaton Engineering, Inc.
                       Temperature sensor                                     (Original Issue 5-10-2013; Release 4-2-2014)


                                                                                                                                10
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 ‘457 Dependent Claim 2 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                            MGT Commercial Embodiment


The system of claim 1 wherein the tank and primary               The MGT Commercial Embodiment includes the system of
circulation facility comprise a highly-integrated module.        claim 1 wherein the tank and primary circulation facility
                                                                 comprise a highly-integrated module.




 Tank




                                Control
                                facility




                                                Primary circulation facility



                          Plenum
                                                                                                                        11
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          ‘457 Claim 5 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

The system of claim 1 wherein the control facility further         The MGT Commercial Embodiment includes the control
comprises a communication facility adapted to facilitate           facility that further includes a communication facility
monitoring and control of the control facility from a remote       adapted to facilitate monitoring and control of the control
location.                                                          facility from a remote location.



                                                                                                                         (7.)
                                           (6.)




     (6.) Midas XCI System User Manual, pg. 10.                         (7.) Midas XCI System User Manual, pg. 27.               12
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         ‘457 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                   Specific Identification Where Each Element is Found Within
                                                          MGT Commercial Embodiment

A tank module adapted for use in an appliance immersion       The MGT Commercial Embodiment is a tank module
cooling system, the tank module comprising:                   adapted for use in an appliance immersion cooling system.
                                                              “Appliance” includes “contemporary computer servers.”
                                                              See generally MIDAS0044216-44293.




                                                                                        (1.)


     (1.) Midas XCI System User Manual, pg. 10, Midas Green Technologies, LLC (2021)
                                                                                                                      13
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          ‘457 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment

a tank adapted to immerse in a dielectric fluid a plurality of       The MGT Commercial Embodiment includes a tank. The
electrical appliances,                                               tank is adapted to immerse in a dielectric fluid, a plurality
                                                                     of electrical appliances.




                              tank




                                                                    control
                                                                    facility


                                                                     appliances




  (Perspective view)
                                      (Section view)
                                                                                                                                     14
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          ‘457 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment
                                                                   The MGT Commercial Embodiment includes appliance
each in a respective appliance slot distributed vertically         slots, e.g., each slot receiving a respective appliance, each
along, and extending transverse to, a long wall of the tank,       of those slots being distributed vertically along, e.g., the
                                                                   appliance slot is distributed vertically down into the tank,
                                                                   and extending traverse to the long wall of the tank.




                                                                                                                                   15
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          ‘457 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment
the tank comprising:                                                 The MGT Commercial Embodiment includes a tank that
                                                                     includes a weir, integrated horizontally into the long wall of
a weir, integrated horizontally into the long wall of the tank       the tank adjacent all appliance slots, e.g., the weir having an
adjacent all appliance slots, having an overflow lip adapted         overflow lip adapted to facilitate substantially uniform
to facilitate substantially uniform recovery of the dielectric       recovery of the dielectric fluid flowing through each
fluid flowing through each appliance slot; and                       appliance slot, e.g., the dielectric fluid in the tank flows
                                                                     over the lip of the weir extending along the long wall of the
                                                                     tank, thus facilitating substantially uniform recovery of the
                                                                     fluid flowing through each appliance slot in the tank.




                                                                        The weir




                                                                                                                                 16
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          ‘457 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                       Specific Identification Where Each Element is Found Within
                                                              MGT Commercial Embodiment

                                                                  The MGT Commercial Embodiment includes a tank that
a dielectric fluid recovery reservoir positioned vertically       includes a dielectric fluid recovery reservoir positioned
beneath the overflow lip of the weir and adapted to receive       vertically beneath the overflow lip of the weir and adapted
the dielectric fluid as it flows over the weir;                   to receive the dielectric fluid as it flows over the weir.




                                                                                                           reservoir




                                                                                                                            17
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          ‘457 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                            MGT Commercial Embodiment
                                                                 The MGT Commercial Embodiment includes a primary
                                                                 circulation facility adapted to circulate the dielectric fluid
a primary circulation facility adapted to circulate the          through the tank, e.g., the pump sends the hot dielectric
dielectric fluid through the tank                                fluid out to the heat exchanger; cooled dielectric fluid
                                                                 returns to the tank, entering the plenum positioned adjacent
                                                                 the bottom of the tank; and the dielectric fluid moves up
                                                                 through the tank to the previously illustrated weir, then into
                                                                 the recovery reservoir, out to the collection tank, and back
                                                                 to the pump.
                                                                                                                           *




                                                                                                                       *

                          (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)18
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          ‘457 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                  Specific Identification Where Each Element is Found Within
                                                         MGT Commercial Embodiment
comprising:                                                  The MGT Commercial Embodiment includes a primary
a plenum, positioned adjacent the bottom of the tank,        circulation facility that includes a plenum, positioned
adapted to dispense the dielectric fluid substantially       adjacent the bottom of the tank, adapted to dispense the
uniformly upwardly through each appliance slot;              dielectric fluid substantially uniformly upwardly through
                                                             each appliance slot.




                                                                                                               plenum



                         plenum




                                                                                                                         19
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          ‘457 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                         Specific Identification Where Each Element is Found Within
                                                                MGT Commercial Embodiment

a control facility adapted to coordinate the operation of the       The MGT Commercial Embodiment includes a control
primary fluid circulation facility as a function of the             facility adapted to coordinate the operation of the primary
temperature of the dielectric fluid in the tank.                    fluid circulation facility as a function of the temperature of
                                                                    the dielectric fluid in the tank.
                                   (2.)
                                                                                                                           (3.)




                                                         Temperature sensor




                                                                           (4.)




                                                                    (5.)      (2.) Midas XCI System User Manual, pg. 81.
                                                                              (3.) Midas XCI System User Manual, pg. 83.
                                                                              (4.) Midas XCI System User Manual, pg. 28.
                                                                              (5.) Midas Green Tech Tank & Oil Cooling P&ID
                                                                              System, pg. 1 of 1, Deaton Engineering, Inc.
                       Temperature sensor                                     (Original Issue 5-10-2013; Release 4-2-2014)


                                                                                                                                  20
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 ‘457 Dependent Claim 7 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                            MGT Commercial Embodiment

The module of claim 6 wherein the tank and primary               The MGT Commercial Embodiment includes the module of
circulation facility comprise a highly-integrated module.        claim 6 wherein the tank and primary circulation facility
                                                                 comprise a highly-integrated module.




   Tank




                                    Control
                                    facility




                                                   Primary circulation facility



                              Plenum
                                                                                                                        21
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         ‘457 Claim 10 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

The module of claim 6 wherein the control facility further         The MGT Commercial Embodiment includes the control
comprises a communication facility adapted to facilitate           facility that further includes a communication facility
monitoring and control of the control facility from a remote       adapted to facilitate monitoring and control of the control
location.                                                          facility from a remote location.



                                                                                                                         (7.)
                                           (6.)




     (6.) Midas XCI System User Manual, pg. 10.                         (7.) Midas XCI System User Manual, pg. 27.               22
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        ‘457 Claim 11 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                   Specific Identification Where Each Element is Found Within
                                                          MGT Commercial Embodiment

A tank module adapted for use in an appliance immersion      The MGT Commercial Embodiment is a tank module
cooling system, the tank module comprising:                  adapted for use in an appliance immersion cooling system.
                                                             “Appliance” includes “contemporary computer servers.”
                                                             See generally MIDAS0044216-44293.




                                                                                        (1.)


     (1.) Midas XCI System User Manual, pg. 10, Midas Green Technologies, LLC (2021)
                                                                                                                         23
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         ‘457 Claim 11 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment

                                                                      The MGT Commercial Embodiment includes a tank. The
a tank adapted to immerse in a dielectric fluid a plurality of        tank is adapted to immerse in a dielectric fluid, a plurality
electrical appliances,                                                of electrical appliances.




                              tank




                                                                  control
                                                                  facility


                                                                      appliances




  (Perspective view)
                                      (Section view)
                                                                                                                                      24
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         ‘457 Claim 11 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

each in a respective appliance slot distributed vertically         The MGT Commercial Embodiment includes appliance
along, and extending transverse to, a long wall of the tank,       slots, e.g., each slot receiving a respective appliance, each
                                                                   of those slots being distributed vertically along, e.g., the
                                                                   appliance slot is distributed vertically down into the tank,
                                                                   and extending traverse to the long wall of the tank.




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         ‘457 Claim 11 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment
the tank comprising:                                                 The MGT Commercial Embodiment includes a tank that
                                                                     includes a weir, integrated horizontally into the long wall of
a weir, integrated horizontally into the long wall of the tank       the tank adjacent all appliance slots, e.g., the weir adapted
adjacent all appliance slots, adapted to facilitate                  to facilitate substantially uniform recovery of the dielectric
substantially uniform recovery of the dielectric fluid               fluid flowing through each appliance slot, e.g., the dielectric
flowing through each appliance slot;                                 fluid in the tank flows over the weir extending along the
                                                                     long wall of the tank, thus facilitating substantially uniform
                                                                     recovery of the fluid flowing through each appliance slot in
                                                                     the tank.




                                                                        The weir




                                                                                                                                 26
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         ‘457 Claim 11 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                            MGT Commercial Embodiment
                                                                The MGT Commercial Embodiment includes a primary
a primary circulation facility adapted to circulate the         circulation facility adapted to circulate the dielectric fluid
dielectric fluid through the tank ,                             through the tank, e.g., the pump sends the hot dielectric
                                                                fluid out to the heat exchanger; cooled dielectric fluid
                                                                returns to the tank, entering the plenum positioned adjacent
                                                                the bottom of the tank; and the dielectric fluid moves up
                                                                through the tank to the previously illustrated weir, then into
                                                                the recovery reservoir, out to the collection tank, and back
                                                                to the pump.
                                                                                                                       *




                                                                                                                       *

                         (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)27
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         ‘457 Claim 11 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                  Specific Identification Where Each Element is Found Within
                                                         MGT Commercial Embodiment
comprising:                                                  The MGT Commercial Embodiment includes a primary
a plenum, positioned adjacent the bottom of the tank,        circulation facility that includes a plenum, positioned
adapted to dispense the dielectric fluid substantially       adjacent the bottom of the tank, adapted to dispense the
uniformly upwardly through each appliance slot; and          dielectric fluid substantially uniformly upwardly through
                                                             each appliance slot.




                                                                                                               plenum



                         plenum




                                                                                                                         28
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         ‘457 Claim 11 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                         Specific Identification Where Each Element is Found Within
                                                                MGT Commercial Embodiment

a control facility adapted to coordinate the operation of the       The MGT Commercial Embodiment includes a control
primary fluid circulation facility as a function of the             facility adapted to coordinate the operation of the primary
temperature of the dielectric fluid in the tank.                    fluid circulation facility as a function of the temperature of
                                                                    the dielectric fluid in the tank.
                                   (2.)
                                                                                                                           (3.)




                                                         Temperature sensor




                                                                           (4.)




                                                                    (5.)      (2.) Midas XCI System User Manual, pg. 81.
                                                                              (3.) Midas XCI System User Manual, pg. 83.
                                                                              (4.) Midas XCI System User Manual, pg. 28.
                                                                              (5.) Midas Green Tech Tank & Oil Cooling P&ID
                                                                              System, pg. 1 of 1, Deaton Engineering, Inc.
                       Temperature sensor                                     (Original Issue 5-10-2013; Release 4-2-2014)


                                                                                                                                  29
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         ‘457 Claim 14 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

The module of claim 11 wherein the control facility further        The MGT Commercial Embodiment includes the control
comprises a communication facility adapted to facilitate           facility that further includes a communication facility
monitoring and control of the control facility from a remote       adapted to facilitate monitoring and control of the control
location.                                                          facility from a remote location.



                                                                                                                         (7.)
                                           (6.)




     (6.) Midas XCI System User Manual, pg. 10.                         (7.) Midas XCI System User Manual, pg. 27.               30
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        ‘457 Claim 15 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                    Specific Identification Where Each Element is Found Within
                                                           MGT Commercial Embodiment


An appliance immersion cooling system comprising a tank        The MGT Commercial Embodiment includes an appliance
module according to any one of the preceding claims 11         immersion cooling system comprising a tank module
through 14.                                                    according to any one of the preceding claims 11 through 14.




                                                                                            (1.)
    (1.) Midas XCI System User Manual, pg. 10, Midas Green Technologies, LLC (2021)
    See charted claims 11–14 in reference to a tank module according to any one of the preceding                       31
    claims 11 through 14.
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‘457 Dependent Claim 16 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment

An appliance immersion cooling system according to claim             The MGT Commercial Embodiment includes an appliance
15, further comprising:                                              immersion cooling system according to claim 15, further
                                                                     comprising a secondary fluid circulation facility adapted to
a secondary fluid circulation facility adapted to extract heat       extract heat from the dielectric fluid circulating in the
from the dielectric fluid circulating in the primary                 primary circulation facility, and to dissipate to the
circulation facility, and to dissipate to the environment the        environment the heat so extracted.
heat so extracted.




                 (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)
                                                                                                                               32
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         ‘446 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                Specific Identification Where Each Element is Found Within
                                                       MGT Commercial Embodiment

An appliance immersion cooling system comprising:          The MGT Commercial Embodiment is an appliance
                                                           immersion cooling system. “Appliance” includes
                                                           “contemporary computer servers.” See generally
                                                           MIDAS0044216-44293.




                                                                                      (1.)


    (1.) Midas XCI System User Manual, pg. 10, Midas Green Technologies, LLC (2021)
                                                                                                               33
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          ‘446 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment

a tank adapted to immerse in a dielectric fluid a plurality of       The MGT Commercial Embodiment includes a tank. The
electrical appliances,                                               tank is adapted to immerse in a dielectric fluid, a plurality
                                                                     of electrical appliances.




                              tank




                                                                  control
                                                                  facility

                                                                     appliances




  (Perspective view)
                                      (Section view)
                                                                                                                                     34
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          ‘446 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

                                                                   The MGT Commercial Embodiment includes appliance
each in a respective appliance slot distributed vertically
                                                                   slots, e.g., each slot receiving a respective appliance, each
along, and extending transverse to, a long wall of the tank,
                                                                   of those slots being distributed vertically along, e.g., the
                                                                   appliance slot is distributed vertically down into the tank,
                                                                   and extending traverse to the long wall of the tank.




                                                                                                                                   35
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          ‘446 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment
the tank comprising:                                                 The MGT Commercial Embodiment includes a tank that
                                                                     includes a weir, integrated horizontally into the long wall of
a weir, integrated horizontally into the long wall of the tank       the tank adjacent all appliance slots, e.g., the weir adapted
adjacent all appliance slots, adapted to facilitate                  to facilitate substantially uniform recovery of the dielectric
substantially uniform recovery of the dielectric fluid               fluid flowing through each appliance slot, e.g., the dielectric
flowing through each appliance slot; and                             fluid in the tank flows over the weir extending along the
                                                                     long wall of the tank, thus facilitating substantially uniform
                                                                     recovery of the fluid flowing through each appliance slot in
                                                                     the tank.




                                                                        The weir




                                                                                                                                 36
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          ‘446 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                            MGT Commercial Embodiment
                                                                 The MGT Commercial Embodiment includes a primary
a primary circulation facility adapted to circulate the          circulation facility adapted to circulate the dielectric fluid
dielectric fluid through the tank,                               through the tank, e.g., the pump sends the hot dielectric
                                                                 fluid out to the heat exchanger; cooled dielectric fluid
                                                                 returns to the tank, entering the plenum positioned adjacent
                                                                 the bottom of the tank; and the dielectric fluid moves up
                                                                 through the tank to the previously illustrated weir, then into
                                                                 the recovery reservoir, out to the collection tank, and back
                                                                 to the pump.
                                                                                                                        *




                                                                                                                        *

                            (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)
                                                                                                                          37
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          ‘446 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                  Specific Identification Where Each Element is Found Within
                                                         MGT Commercial Embodiment
comprising:                                                  The MGT Commercial Embodiment includes a primary
a plenum, positioned adjacent the bottom of the tank,        circulation facility that includes a plenum, positioned
adapted to dispense the dielectric fluid substantially       adjacent the bottom of the tank, adapted to dispense the
uniformly upwardly through each appliance slot;              dielectric fluid substantially uniformly upwardly through
                                                             each appliance slot.




                                                                                                               plenum



                         plenum




                                                                                                                         38
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          ‘446 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment

a secondary fluid circulation facility adapted to extract heat       The MGT Commercial Embodiment includes a secondary
from the dielectric fluid circulating in the primary                 fluid circulation facility adapted to extract heat from the
circulation facility, and to dissipate to the environment the        dielectric fluid circulating in the primary circulation facility,
heat so extracted; and                                               and to dissipate to the environment the heat so extracted.


                                                                                                                             *




                                                                                                                             *

                            (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)
                                                                                                                          39
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          ‘446 Claim 1 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                         Specific Identification Where Each Element is Found Within
                                                                MGT Commercial Embodiment

a control facility adapted to coordinate the operation of the       The MGT Commercial Embodiment includes a control
primary and secondary fluid circulation facilities as a             facility adapted to coordinate the operation of the primary
function of the temperature of the dielectric fluid in the          and secondary fluid circulation facilities as a function of the
tank.                                                               temperature of the dielectric fluid in the tank
                                   (2.)
                                                                                                                           (3.)




                                                         Temperature sensor




                                                                           (4.)




                                                                    (5.)      (2.) Midas XCI System User Manual, pg. 81.
                                                                              (3.) Midas XCI System User Manual, pg. 83.
                                                                              (4.) Midas XCI System User Manual, pg. 28.
                                                                              (5.) Midas Green Tech Tank & Oil Cooling P&ID
                                                                              System, pg. 1 of 1, Deaton Engineering, Inc.
                       Temperature sensor                                     (Original Issue 5-10-2013; Release 4-2-2014)


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 ‘446 Dependent Claim 2 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                      Specific Identification Where Each Element is Found Within
                                                             MGT Commercial Embodiment

The system of claim 1 wherein the tank and primary                The MGT Commercial Embodiment include the system of
circulation facility comprise a tightly co-located module.        claim 1 wherein the tank and primary circulation facility
                                                                  comprise a tightly co-located module.




 Tank




                                Control
                                facility




                                                 Primary circulation facility



                          Plenum
                                                                                                                          41
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          ‘446 Claim 5 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

The system of claim 1 wherein the control facility further         The MGT Commercial Embodiment includes the control
comprises a communication facility adapted to facilitate           facility that further includes a communication facility
monitoring and control of the control facility from a remote       adapted to facilitate monitoring and control of the control
location.                                                          facility from a remote location



                                                                                                                         (7.)
                                           (6.)




     (6.) Midas XCI System User Manual, pg. 10.                         (7.) Midas XCI System User Manual, pg. 27.               42
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         ‘446 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                   Specific Identification Where Each Element is Found Within
                                                          MGT Commercial Embodiment

A tank module adapted for use in an appliance immersion       The MGT Commercial Embodiment is a tank module
cooling system, the tank module comprising:                   adapted for use in an appliance immersion cooling system.
                                                              “Appliance” includes “contemporary computer servers.”
                                                              See generally MIDAS0044216-44293.




                                                                                        (1.)


     (1.) Midas XCI System User Manual, pg. 10, Midas Green Technologies, LLC (2021)
                                                                                                                      43
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          ‘446 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment


a tank adapted to immerse in a dielectric fluid a plurality of       The MGT Commercial Embodiment includes a tank. The
electrical appliances,                                               tank is adapted to immerse in a dielectric fluid, a plurality
                                                                     of electrical appliances.




                              tank




                                                                        control
                                                                        facility




                                                                     appliances




  (Perspective view)
                                      (Section view)
                                                                                                                                     44
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          ‘446 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

each in a respective appliance slot distributed vertically         The MGT Commercial Embodiment includes appliance
along, and extending transverse to, a long wall of the tank,       slots, e.g., each slot receiving a respective appliance, each
                                                                   of those slots being distributed vertically along, e.g., the
                                                                   appliance slot is distributed vertically down into the tank,
                                                                   and extending traverse to the long wall of the tank




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          ‘446 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                          Specific Identification Where Each Element is Found Within
                                                                 MGT Commercial Embodiment
the tank comprising:                                                 The MGT Commercial Embodiment includes a tank that
                                                                     includes a weir, integrated horizontally into the long wall of
a weir, integrated horizontally into the long wall of the tank       the tank adjacent all appliance slots, e.g., the weir adapted
adjacent all appliance slots, adapted to facilitate                  to facilitate substantially uniform recovery of the dielectric
substantially uniform recovery of the dielectric fluid               fluid flowing through each appliance slot, e.g., the dielectric
flowing through each appliance slot; and                             fluid in the tank flows over the weir extending along the
                                                                     long wall of the tank, thus facilitating substantially uniform
                                                                     recovery of the fluid flowing through each appliance slot in
                                                                     the tank.




                                                                        The weir




                                                                                                                                 46
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          ‘446 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                     Specific Identification Where Each Element is Found Within
                                                            MGT Commercial Embodiment
a primary circulation facility adapted to circulate the          The MGT Commercial Embodiment includes a primary
dielectric fluid through the tank,                               circulation facility adapted to circulate the dielectric fluid
                                                                 through the tank, e.g., the pump sends the hot dielectric
                                                                 fluid out to the heat exchanger; cooled dielectric fluid
                                                                 returns to the tank, entering the plenum positioned adjacent
                                                                 the bottom of the tank; and the dielectric fluid moves up
                                                                 through the tank to the previously illustrated weir, then into
                                                                 the recovery reservoir, out to the collection tank, and back
                                                                 to the pump.
                                                                                                                            *




                                                                                                                        *

                            (*Two immersion cooling systems sharing a common secondary circulation facility are illustrated.)
                                                                                                                          47
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          ‘446 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                  Specific Identification Where Each Element is Found Within
                                                         MGT Commercial Embodiment
comprising:                                                  The MGT Commercial Embodiment includes a primary
a plenum, positioned adjacent the bottom of the tank,        circulation facility that includes a plenum, positioned
adapted to dispense the dielectric fluid substantially       adjacent the bottom of the tank, adapted to dispense the
uniformly upwardly through each appliance slot; and          dielectric fluid substantially uniformly upwardly through
                                                             each appliance slot.




                                                                                                               plenum



                         plenum




                                                                                                                         48
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          ‘446 Claim 6 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                         Specific Identification Where Each Element is Found Within
                                                                MGT Commercial Embodiment

a control facility adapted to coordinate the operation of the       The MGT Commercial Embodiment includes a control
primary fluid circulation facility as a function of the             facility adapted to coordinate the operation of the primary
temperature of the dielectric fluid in the tank.                    circulation facility as a function of the temperature of the
                                                                    dielectric fluid in the tank.
                                   (2.)
                                                                                                                          (3.)




                                                         Temperature sensor




                                                                           (4.)




                                                                    (5.)      (2.) Midas XCI System User Manual, pg. 81.
                                                                              (3.) Midas XCI System User Manual, pg. 83.
                                                                              (4.) Midas XCI System User Manual, pg. 28.
                                                                              (5.) Midas Green Tech Tank & Oil Cooling P&ID
                                                                              System, pg. 1 of 1, Deaton Engineering, Inc.
                       Temperature sensor                                     (Original Issue 5-10-2013; Release 4-2-2014)


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 ‘446 Dependent Claim 7 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                      Specific Identification Where Each Element is Found Within
                                                             MGT Commercial Embodiment

The module of claim 6 wherein the tank and primary                The MGT Commercial Embodiment include the module of
circulation facility comprise a tightly co-located module.        claim 6 wherein the tank and primary circulation facility
                                                                  comprise a tightly co-located module.




 Tank




                                Control
                                facility




                                                 Primary circulation facility



                          Plenum
                                                                                                                         50
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         ‘446 Claim 10 Chart of MGT Commercial Embodiment - 12U Tank

Asserted Claim Elements                                        Specific Identification Where Each Element is Found Within
                                                               MGT Commercial Embodiment

The module of claim 6 wherein the control facility further         The MGT Commercial Embodiment includes the control
comprises a communication facility adapted to facilitate           facility that further includes a communication facility
monitoring and control of the control facility from a remote       adapted to facilitate monitoring and control of the control
location.                                                          facility from a remote location.



                                                                                                                         (7.)
                                           (6.)




     (6.) Midas XCI System User Manual, pg. 10.                         (7.) Midas XCI System User Manual, pg. 27.               51
